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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DANIEL QUINN                                           )
                                                       )
                        Plaintiff,                     )
         vs.                                           )
                                                       )      Civil Action No.
                                                       )
EQUIFAX INFORMATION                                    )
SERVICES, INC.,                                        )
and                                                    )
SAFE HOME SECURITY, INC.                               )
                                                       )
                                                       )
                        Defendants.                    )

                                            COMPLAINT

                                     I.    Preliminary Statement
         1.      This is an action for damages brought by an individual consumer against the

Defendants for violations of the Fair Credit Reporting Act (hereafter the “FCRA”), 15 U.S.C.

§1681 et seq.

                                     II.   Jurisdiction and Venue
         2.      Jurisdiction of this Court arises under 15 U.S.C. § 1681p, 28 U.S.C. §1331.

         3.      Venue lies properly in this district pursuant to 28 U.S.C. §1391(b).

                                             III.   Parties

         4.      Plaintiff Daniel Quinn is an adult individual who resides at 3316 Bridalpath Road

Easton, PA 18045.

         5.      Defendant Equifax Information Services, LLC (hereafter “EQ”) is a business

entity which regularly conducts business in the Eastern District of Pennsylvania, and which has a

principal place of business located at 6 Clementon Road, East, Suite A2, Gibbsboro, New Jersey

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        6.      Defendant Safe Home Security, Inc. is a business entity and furnisher of credit

information that regularly conducts business in the Eastern District of Pennsylvania and which

has a place of business located at 55 Sebethe Dr. Cromwell, CT 06416.

                                         IV. Factual Allegations

        7.      Defendants have been reporting derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to third parties (hereafter the

“inaccurate information”) from at least August 2012 through the present.

        8.      The inaccurate information includes, but is not limited to, an account with Safe

Home Security, Inc., and personal identifying information.

        9.      The inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s credit

repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit

worthiness. The inaccurate information consists of accounts and/or tradelines that do not belong

to the Plaintiff.

        10.     Defendants have been reporting the inaccurate information through the issuance

of false and inaccurate credit information and consumer credit reports that it has disseminated to

various persons and credit grantors, both known and unknown from at least August 2012 through

the present.

        11.         Plaintiff has disputed the inaccurate information with Defendants by both oral and

written communications to their representatives and by following Defendants’ established

procedures for disputing consumer credit information.

        12.     Plaintiff has disputed the inaccurate information with Defendants from August

2012 through the present.




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       13.     Notwithstanding Plaintiff’s efforts, Defendants have sent Plaintiff correspondence

indicating their intent to continue publishing the inaccurate information and Defendants continue

to publish and disseminate such inaccurate information to other third parties, persons, entities

and credit grantors. Defendants have repeatedly published and disseminated consumer reports to

such third parties from at least August 2012 through the present.

       14.     Despite Plaintiff’s efforts, Equifax has never: (1) contacted Plaintiff to follow up

on, verify and/or elicit more specific information about Plaintiff’s disputes; (2) contacted any

third parties that would have relevant information concerning Plaintiff’s disputes; (3) forwarded

any relevant information concerning Plaintiff’s disputes to the entities originally furnishing the

inaccurate information; (4) requested or obtained any credit applications, or other relevant

documents from the entities furnishing the inaccurate information; and (5) performed any

handwriting analysis.

       15.     Notwithstanding Plaintiff’s disputes, Safe Home Security, Inc. has also failed to

conduct timely and reasonable investigations of Plaintiff’s disputes after being contacted by the

relevant credit reporting agencies concerning Plaintiff’s disputes, has willfully continued to

report such inaccurate information to various credit reporting agencies, and has failed to mark

the above accounts as disputed.

       16.     Despite Plaintiff’s exhaustive efforts to date, Defendants have nonetheless

deliberately, willfully, intentionally, recklessly and negligently repeatedly failed to perform

reasonable reinvestigations of the above disputes as required by the FCRA, have failed to

remove the inaccurate information, have failed to report on the results of its reinvestigations to

all credit reporting agencies, have failed to note the disputed status of the inaccurate information

and have continued to report the derogatory inaccurate information about the Plaintiff.




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       17.     Plaintiff has applied for and has been denied various loans and extensions of

consumer credit on many different occasions, and Plaintiff has been informed that the basis for

these denials was the inaccurate information that appears on Plaintiff’s credit reports and that the

inaccurate information was a substantial factor for those denials.

       18.     Plaintiff’s credit reports and file have been obtained from Defendants and have

been reviewed by prospective and existing credit grantors and extenders of credit, and the

inaccurate information has been a substantial factor in precluding Plaintiff from receiving credit

offers and opportunities, known and unknown. Plaintiff’s credit reports have been obtained from

Defendants by such third parties from at least August 2012 through the present.

       19.     As a result of Defendants’ conduct, Plaintiff has suffered actual damages in the

form of credit denial or loss of credit opportunity, credit defamation and emotional distress,

including anxiety, frustration, embarrassment and humiliation.

       20.     At all times pertinent hereto, Defendants were acting by and through their agents,

servants and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of the Defendants herein.

       21.     At all times pertinent hereto, the conduct of the Defendants as well as that of its

agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

negligent disregard for federal and state laws and the rights of the Plaintiff herein.

                               Count II – Violations of the FCRA
                                       (Plaintiff v. Equifax)
       22.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       23.     At all times pertinent hereto, EQ was a “person” and “consumer reporting

agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).




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       24.     At all times pertinent hereto, the Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. § 1681a(c).

       25.     At all times pertinent hereto, the above-mentioned credit reports were “consumer

reports” as that term is defined by 15 U.S.C. § 1681a(d).

       26.     Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, EQ is liable to the Plaintiff

for willfully and negligently failing to comply with the requirements imposed on consumer

reporting agencies of information pursuant to 15 U.S.C. §§ 1681e(b) and 1681(i).

       27.     The conduct of EQ was a direct and proximate cause, as well as a substantial

factor, in bringing about the serious injuries, actual damages and harm to the Plaintiff that are

outlined more fully above and, as a result, Defendant is liable to the Plaintiff for the full amount

of statutory, actual and punitive damages, along with the attorneys’ fees and the costs of

litigation, as well as such further relief, as may be permitted by law.

                               Count II – Violations of the FCRA
                                (Plaintiff v. Safe Home Security)

        28.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       29.     At all times pertinent hereto Safe Home Security was a “person” as that term

defined by 15 U.S.C. § 1681a(b).

       30.     Safe Home Security violated sections 1681n and 1681o of the FCRA by willfully

and negligently failing to comply with the requirements imposed on furnishers of information

pursuant to 15 U.S.C. §1681s-2(b).

       31.     Safe Home Security’s conduct was a direct and proximate cause, as well as a

substantial factor, in causing the serious injuries, damages and harm to the Plaintiff that are

outlined more fully above, and as a result Safe Home Security is liable to compensate Plaintiff



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for the full amount of statutory, actual and punitive damages, along with attorneys’ fees and

costs, as well as such other relief, permitted by law.

                                        Jury Trial Demand

       32.     Plaintiff demands trial by jury on all issues so triable.

                                          Prayer for Relief

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendant, based on the following requested relief:

               (a)     Statutory damages;

               (b)     Actual damages;

               (c)     Punitive damages;

               (d)     Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n and

                       1681o; and

               (e)     Such other and further relief as may be necessary, just and proper.



                                              Respectfully submitted,

                                               FRANCIS & MAILMAN, P.C.

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Dated: May 29, 2013                            Attorneys for Plaintiff




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